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The following constitutes the ruling of the court and has the force and effect therein described.


Signed March 26, 2025
                                            ____________________________
                                            United States Bankruptcy Judge
_____________________________________________________________________


                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                      FORT WORTH DIVISION
          IN RE:                                §
                                                §     CASE NO.: 25-41005-MXM11
          NATIONAL STEEL SERVICES LLC,          §
                                                §     CHAPTER 11
                 DEBTOR.                        §

                       ORDER TO SHOW CAUSE WHY THE ABOVE-CAPTIONED
                        BANKRUPTCY CASE SHOULD NOT BE DISMISSED FOR
                           DEBTOR’S FAILURE TO APPEAR BY COUNSEL

                 Before the court is the voluntary chapter 11 petition (the “Petition”) of National Steel

          Services, LLC, (the “Debtor”). Upon review of the Petition and the record in this case, the

          Court has determined that no attorney has appeared of record representing the Debtor.

          Furthermore, the Court has determined that the Debtor is not an individual, nor is the Debtor

          otherwise authorized to appear without the aid of duly admitted licensed counsel.

                 It is well settled law that an entity such as the Debtor may not appear in Federal Court

          without the assistance of duly admitted licensed counsel. 1 It is therefore,


      1
       See Rowland v. California Men's Colony, 506 U.S. 194, 201–202 (1993) (“It has been the law for the better part of
      two centuries, for example, that a corporation may appear in the federal courts only through licensed counsel.”);
      Memon v. Allied Domecq QSR, 385 F.3d 871, 873 (5th Cir. 2004) (citing Southwest Express Co. v. ICC, 670 F.2d
      53, 55 (5th Cir. 1982)). This rule is the same in Bankruptcy Courts. See In re Renaissance Hosp. - Grand Prairie,
      Inc., 399 B.R. 442, 448 (Bankr. N.D. Tex. 2008).

                                                              1
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         ORDERED that the Debtor must appear through counsel within 10 days of entry on the

  docket of this Order and show cause why this case should not be dismissed. It is further;

         ORDERED that this case shall be dismissed without prejudice if the Debtor fails to

  comply with this order.



                                      ### End of Order ###




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